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                                                                                     2015 Mar-27 AM 11:53
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         EASTERN DIVISION

LEISHA REAVES, individually,            )
on behalf of herself and all others     )
similarly situated,                     )
                                        )
             Plaintiff,                 )
                                        )
v.                                      ) Case No.:1:11-cv-03859-MHH
                                        )
CABLE ONE, INC.,                        )
                                        )
             Defendant.                 )

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      COME NOW, all parties in this action, by and through undersigned counsel,

and, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), submit this Joint Stipulation of

Dismissal and hereby dismiss this entire action, including Defendant Cable One,

Inc., with prejudice. Both parties also stipulate that each side shall bear all their own

costs, expenses and attorneys’ fees.

      Respectfully submitted this 27 th day of March, 2015.

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                          CERTIFICATE OF SERVICE

      I hereby certify that on the 27 th day of March, 2015, I caused the attached
document to be electronically transmitted to the Clerk's Office using the CM/ECF
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